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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No. 2:15-cr-00190-GEB
8                 Plaintiff,
9        v.                               ORDER
10   JOHN MICHAEL DICHIARA, et
     al.,
11
                  Defendants.
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13             In light of responses received regarding the August 14,

14   2017 Minute Order inquiring about the feasibility of advancing

15   the trial commencement date, ECF No. 181, the trial commencement

16   date in the Trial Confirmation Order is unchanged.

17   Dated:   August 22, 2017

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